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                                CERTIFICATE OF SERVICE

               I, Tamara K. Minott, certify that I am not less than 18 years of age, and that

service of the foregoing Fifty-Fifth Monthly Application of John Ray, as Principal Officer of

Nortel Networks, Inc. for Allowance of Interim Compensation and for Interim

Reimbursement of All Actual and Necessary Expenses Incurred for the Period March 1,

2016 through March 31, 2016 was caused to be made on April 1, 2016, in the manner indicated

upon the entities identified below:

Date: April 1, 2016                                      /s/ Tamara K. Minott
      Wilmington, DE                                     Tamara K. Minott (No. 5643)


VIA HAND DELIVERY                              VIA FIRST CLASS MAIL
                                               Nortel Networks, Inc.
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VIA HAND DELIVERY & EMAIL
                                               (Counsel for Official Committee
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(Trustee)

VIA FIRST CLASS MAIL & EMAIL

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